          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR31-4


UNITED STATES OF AMERICA                  )
                                          )
                                          )
                  VS.                     )           ORDER
                                          )
                                          )
DANNY LEE HALL                            )
                                          )


      THIS MATTER is before the Court on the Defendant’s appeal from

the denial by the Magistrate Judge of his motion for reconsideration of

release pending sentencing.



                        I. PROCEDURAL HISTORY

      The Defendant was indicted on April 4, 2006, with conspiring to

manufacture and possess with intent to distribute 500 grams or more of

methamphetamine. Bill of Indictment, filed April 4, 2006. The

indictment specifically alleged that the offense created a substantial risk of

harm to others and the environment because it involved the manufacture of

methamphetamine. Id. On June 22, 2006, the Defendant entered into a




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plea agreement with the Government pursuant to which he pled guilty to

the bill of indictment and agreed that he was responsible for more than 350

grams but less than 500 grams of methamphetamine. Plea Agreement,

filed June 22, 2006. The Defendant, therefore, faces a mandatory

minimum sentence of 10 years and not more than life imprisonment. 21

U.S.C. § 841(b)(1)(A)(viii).

      Citing the Defendant’s admitted involvement with manufacturing

methamphetamine and his past criminal history, including his convictions

for assault on a female, the Magistrate Judge ordered him detained

pending trial. After he entered into the plea agreement with the

Government, the Defendant moved the Magistrate Judge to reconsider

release pending sentencing. By written order, the Magistrate Judge

declined to order conditions of release. Order, filed August 1, 2006.



                        II. STANDARD OF REVIEW

      The judicial officer shall order that a person who has been
      found guilty of an offense [for which a maximum term of
      imprisonment of ten years or more is prescribed in the
      Controlled Substance Act] and is awaiting imposition or
      execution of sentence be detained unless –




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            (A)(i) the judicial officer finds there is a substantial
     likelihood that a motion for acquittal or new trial will be granted;
     or
                   (ii) an attorney for the Government has
            recommended that no sentence of imprisonment be
            imposed on the person; and
            (B) the judicial officer finds by clear and convincing
     evidence that the person is not likely to flee or pose a danger to
     any other person or the community.

18 U.S.C. § 3143(a)(2) (emphasis added).



                             III. DISCUSSION

     The Defendant cannot meet the requirements of this statute. While

he argues that some of his co-Defendants have been released after

entering into plea agreements, a review of the docket shows that most of

those co-Defendants completed Jail Based Intensive Treatment programs

for drug abuse. The fact remains that under the statutory language, the

Defendant cannot show that there is a substantial likelihood that a motion

for acquittal or new trial will be granted or that the Government has

recommended that no sentence of imprisonment be imposed. This Court

is, therefore, required to order detention pending sentencing, as the

language of the statute is mandatory.




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                               IV. ORDER

     IT IS, THEREFORE, ORDERED that the Defendant’s appeal is

hereby DENIED, and the Magistrate Judge’s Order of Detention is hereby

AFFIRMED.



                                   Signed: August 11, 2006




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